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                                                                                             E-FILED
                                                                   Friday, 27 June, 2025 10:34:21 AM
                                                                        Clerk, U.S. District Court, ILCD

                       UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF ILLINOIS
                             PEORIA DIVISION

MICHEAIL WARD,                                   )
                                                 )
                    Plaintiff,                   )
                                                 )
v.                                               ) Case No.: 1:24-cv-01410-JEH-RLH
                                                 )
                                                 )
RODNEY ALFORD, et al.,                           )
                                                 )
                    Defendants.                  )

                                        Order
      This cause is before the Court on Plaintiff Micheail Ward’s motion to
reconsider the Court’s Order denying his motion for leave to file an amended
complaint.
                                             I
                                           A
      Plaintiff has filed the instant motion asking the Court to reconsider its May
19, 205 Order that denied his motion for leave to file an Amended Complaint. D/E
30. Plaintiff argues that the Court erred in denying his motion for leave to file an
Amended Complaint because Federal Rule of Civil Procedure 15(a)(2) directs that
district courts are to grant leave to amend liberally. Plaintiff notes that his Original
Complaint was drafted when he was proceeding pro se. Now that he has counsel,
Plaintiff desires to file an Amended Complaint that would “add[] factual support
and naming of appropriate parties as defendants.” D/E 31. Plaintiff represents that
he is not asking the Court to reconsider the portion of the Court’s Order that
denied his motion and his proposed Amended Complaint with regard to re-
adding Wexford Health Sources, Inc. (“Wexford”), as a party Defendant based

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upon the United States Supreme Court’s holding in Monell v. Department of Social
Services of New York, 436 U.S. 658 (1978).
      However, Plaintiff argues that the Court erred in denying his request to re-
added Wexford as a party Defendant, which the Court dismissed as part of its
Merit Review of his Original Complaint for a different reason. D/E 7; 28 U.S.C. §
1915A. According to Plaintiff, Wexford is a proper party Defendant in this case—
not under Monell—but “on the basis of that it [Wexford] maintained a contract
with IDOC to provide medical care to inmates but also had a policy of providing
minimal treatment to inmates within the IDOC as a cost cutting measure.” D/E
31. Because his proposed Amended Complaint does not add any new claims that
were outside the scope of his Original Complaint and because the re-addition of
Wexford as a party Defendant is permissible under Federal Rule 15, Plaintiff
asserts that the Court erred in denying his motion, and therefore, he moves the
Court to reconsider its Order and, again, asks for leave to file his proposed
Amended Complaint.
                                                 B
      Defendant Dr. Rodney Alford objects to Plaintiff’s motion to reconsider.
According to Dr. Alford, the Court was correct in denying Plaintiff’s motion for
leave to file his proposed Amended Complaint because allowing him to file his
proposed Amended Complaint would be, as the Court noted, futile because the
proposed Amended Complaint would be subject to a successful motion to dismiss.
Dr. Alford contends that Plaintiff cannot re-add Wexford without asserting a
Monell claim, and he further argues that the Court correctly determined that
Plaintiff’s proposed Amended Complaint fails to state a Monell claim against
Wexford. Accordingly, Dr. Alford asks the Court to deny Plaintiff’s motion to
reconsider.


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                                           II
                                           A
      As Plaintiff correctly notes, Federal Rule 15(a)(2) authorizes the Court to
allow amendments to pleadings freely “when justice so requires.” Id. But as Dr.
Alford correctly notes, the United States Supreme Court has held that a district
court may deny leave to amend when the movant has demonstrated “undue delay,
bad faith or dilatory motive . . ., repeated failure to cure deficiencies by
amendments previously allowed, undue prejudice to the opposing party by virtue
of allowance of the amendment, [or] futility of amendment.” Foman v. Davis, 371
U.S. 178, 181 (1962).
      As the Court explained in its May 19, 2025 Order, allowing Plaintiff to file
his proposed Amended Complaint would be futile because he failed to state a
Monell claim upon which relief can be granted against Wexford. Contrary to his
apparent belief, in order to proceed against a private medical corporation (such as
Wexford), Plaintiff must allege facts demonstrating that Wexford maintained a
policy, custom, or widespread practice attributable to the corporation that caused
a violation of his Constitutional rights, i.e., he must proceed on a so-called Monell
claim against the private corporation. Shields v. Illinois Dept. of Corrections, 746 F.3d
782,786 (7th Cir. 2014) (citing Monell). Plaintiff’s allegation of a contract between
Wexford and IDOC does not satisfy § 1983’s personal involvement requirement.
Mitchell v. Kallas, 895 F.3d 492, 498 (7th Cir. 2018) (noting that liability under 42
U.S.C. § 1983 requires personal involvement in the alleged constitutional
violation); Grieveson v. Anderson, 538 F.3d 763, 771 (7th Cir. 2008) (citations
omitted) (holding that Wexford “cannot be held liable for the unconstitutional acts
of their employees unless those acts were carried out pursuant to an official
custom or policy.”). Therefore, this singular allegation does not cure Plaintiff’s
pleading defect.

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       Moreover, Plaintiff’s contention that Wexford maintained a “policy of
providing minimal treatment to inmates within the IDOC as a cost cutting
measure” is insufficient to state a Monell claim, especially in light of the fact that
Plaintiff has admitted that his proposed Amended Complaint does not state a
Monell claim against Wexford.1 Accordingly, Plaintiff’s attempt to re-add Wexford
as a party Defendant is denied.
       Finally, Plaintiff asserts that he wants to add additional facts via his
Amended Complaint.2 Plaintiff’s attempt to do so is curious given the fact that he
does not seek to add any new claims or party Defendants in his proposed
Amended Complaint. The Court found in its Merit Review Order that Plaintiff’s
Original Complaint stated a claim against Defendants Dr. Alford, Nurse Sulivan-
Kulkin, Nikki Rambo, Ginger Davis, and Warden Joyner for acting with deliberate
indifference towards his serious medical need in violation of his Eighth
Amendment rights. These Defendants have not filed a motion to dismiss under
Federal Rule 12(b)(6), arguing that the facts contained within Plaintiff’s Original
Complaint fail to state the claim noted by the Court in the Merit Review Order.
Therefore, the Court is unsure of the purpose for adding facts to a Complaint at
this stage.


1  In his proposed Amended Complaint, Plaintiff alleges that he is attempting to hold
Wexford liable based upon the doctrine of respondeat superior. As the Court explained in
its May 19, 2025, Order, respondeat superior is not a viable legal theory upon which to hold
Wexford liable in a § 1983 claim. E.g., Montano v. Wexford Health Servs., Inc., 2025 WL
975818, * 1 (N.D. Ill. Mar. 31, 2025) (citing Shields, 746 F.3d at 790) (“[T]he law of this
Circuit is clear that there is no respondeat superior liability under § 1983.”). Plaintiff makes
no argument as to why he should be allowed to file his proposed Amended Complaint
despite containing this glaring pleading deficiency.
2  Notably, Plaintiff has not submitted a new motion seeking leave to file another
proposed Amended Complaint. Instead, Plaintiff seeks to file a proposed Amended
Complaint that, by his own admission, contains pleading defects. The Court declines
Plaintiff’s motion to reconsider for that reason alone.

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      That being said, if Plaintiff wants to add facts in order to support an
additional claim(s) or to add additional Defendants, that is a different issue. By his
own admission, Plaintiff’s proposed Amended Complaint does neither. Therefore,
the Court finds that there is no reason to allow Plaintiff to file his proposed
Amended Complaint simply to add additional facts to support his Eighth
Amendment claim. Those facts may be developed during discovery and may be
presented, as appropriate, on summary judgment or at trial.
IT IS, THEREFORE, ORDERED:
      1.     Plaintiff’s motion to reconsider [31] is DENIED.



                                                                         It is so ordered.



                               Entered: June 27, 2025



                               s/Jonathan E. Hawley

                                 U.S. District Judge




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